
PER CURIAM.
This cause came on to be heard on'the motion of the appellee to affirm the judgment appealed from pursuant to Rule 38 of the Rules of this Court, 30 F.S.A., and it appearing to the Court from an examination of the record that said motion is appropriate and seasonably made and that it is manifest that the questions raised on appeal are without substantial merit and need no further argument;
It is accordingly ordered, adjudged, and decreed that the motion of the Attorney General, as attorney for appellee, to affirm the judgment appealed from be, and the same is, hereby granted and the said judgment is
Affirmed.
DREW, C. J., and TERRELL, ROBERTS and SEBRING, JJ., concur.
